                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   FRANKFORT

    CRIMINAL ACTION NO. 3:25-cr-05-GFVT-MAS

    UNITED STATES OF AMERICA                                                  PLAINTIFF


    V.                   ORDER FOR ISSUANCE OF SUMMONS


    HOWARD KEITH HALL                                                        DEFENDANT
                                       * * * * *

      The Court ORDERS that the Motion            of the United    States for issuance of

summons is GRANTED, and Summons shall be ISSUED for the Defendant, HOWARD

KEITH HALL, to APPEAR in United States District Court at Lexington, Kentucky, on

May 16, 2025, at 9:00 a.m., and shall DIRECT the Defendant to contact the United

States Probation Office in    Frankfort, Kentucky, at telephone number (502) 227-4667,

within 48 hours of the receipt of the Summons, excluding           weekends, in order to

arrange an interview by      the United States Probation      Office for the    purpose of

obtaining information pertaining to the pretrial release of the Defendant.

         On this _____
                   17 day of ____________________
                                  April           2025.



                                                  UNITED STATES DISTRICT JUDGE

    Copies:      United States Marshal
                 United States Probation
                 Kate K. Smith, Assistant United States Attorney
